                           UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
______________________________________
                                          :
Josh Thompson,                            :
                                          : Civil Action No.: 5:15-cv-00012-FL
                     Plaintiff,           :
       v.                                 :
                                          :
Discover Card Services, Inc.,             :                                                        (
                                          :
                     Defendant.           :                                                        (
                                          :                                                        D
______________________________________ :                                                           R
                                          :                                                        H
                               STIPULATION OF DISMISSAL

         WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

         WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

         WHEREAS, the parties in the above-captioned action wish to dismiss the litigation;

         IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby dismissed against Discover Card Services, Inc. with prejudice and without costs to any

party.

 Josh Thompson                                 Discover Card Services, Inc.

 ___/s/ Ruth M. Allen________                  __/s/ Mark S. Wierman______

 Ruth M. Allen, Esq.                           Mark S. Wierman
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 Attorney for Plaintiff                        Attorney for Defendant




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                               CERTIFICATE OF SERVICE

        I hereby certify that on August 17, 2015, a true and correct copy of the foregoing
Stipulation of Dismissal was served electronically by the U.S. District Court for the Eastern
District of North Carolina Electronic Document Filing System (ECF) and that the document is
available on the ECF system.

                                            By_/s/ Ruth M. Allen_________
                                                Ruth M. Allen, Esq.




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